                Case 2:17-cv-16231 Document 1 Filed 12/09/17 Page 1 of 6



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                                    :   MDL NO. 2740
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :   SECTION “N”(5)
                                                               :   JUDGE ENGELHARDT
                                                               :   MAG. JUDGE NORTH
KATHRYN HART              :
                                                               :   COMPLANT & JURY DEMAND
        Plaintiff:,                                            :
                                                               :   Civil Action No.: 17-16231
vs.                                                            :


SANOFI U.S SERVICES, INC. f/k/a SANOFI-AVENTIS, U.S. INC.
SANOFI-AVENTIS U.S. LLC, separately, and doing business as WINTHROP U.S.
HOSPIRA, INC.; HOSPIRA WORLDWIDE, LLC f/k/a HOSPIRA WORLDWIDE, INC.; and
SUN PHARMA GLOBAL FZE; and
SUN PHARMACEUTICALS INDUSTRIES, LTD. f/k/a CARACO PHARMACEUTICAL
LABORATORIES, LTD..; and
SANDOZ INC.; and
ACCORD HEALTHCARE INC.

                                                     :
                                                               :
                                                      ,        :
                                                               :
         Defendant(s).                                         :
-------------------------------------------------------------- :


                              AMENDED SHORT FORM COMPLAINT

        Plaintiff incorporates by reference the Master Long Form Complaint and Jury Demand

filed in the above-referenced case on March 31, 2017. Pursuant to Pretrial Order No. 15, this Short

Form Complaint adopts allegations and encompasses claims as set forth in the Amended Master

Long Form Complaint against Defendants.

        Plaintiff further alleges as follows:




                                                         1
          Case 2:17-cv-16231 Document 1 Filed 12/09/17 Page 2 of 6



1.   Plaintiff:

     KATHRYN HART

2.   Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss

     of consortium):



3.   Other type of Plaintiff and capacity (i.e., administrator, executor, guardian,

     conservator):



4.   Current State of Residence: California

5.   State in which Plaintiff(s) allege(s) injury: California

6.   Defendants (check all Defendants against whom a Complaint is made):

     a.      Taxotere Brand Name Defendants

                     A.     Sanofi S.A.

                     B.     Aventis Pharma S.A.

                     C.     Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

                     D.     Sanofi-Aventis U.S. LLC

     b.      Other Brand Name Drug Sponsors, Manufacturers, Distributors

                     A.     Sandoz, Inc.

                     B.     Accord Healthcare, Inc.

                     C.     McKesson Corporation d/b/a McKesson Packaging

                     D.     Hospira Worldwide, LLC f/k/a Hospira Worldwide Inc.

                     E.     Hospira Inc

                     F.     Sun Pharma Global FZE




                                            2
       Case 2:17-cv-16231 Document 1 Filed 12/09/17 Page 3 of 6



                     G.        Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical
                               Laboratories Ltd.
                     H.        Pfizer, Inc.

                     I.        Actavis LLC f/k/a Actavis, Inc.

                     J.        Actavis Pharma, Inc

                     K.        Other:


7.   Basis for Jurisdiction:

              Diversity of Citizenship

              Other (any additional basis for jurisdiction must be pled in sufficient detail as
              required by the applicable Federal Rules of Civil Procedure):




8.   Venue:

     District Court and Division in which remand and trial is proper and where you might
     have otherwise filed this Short Form Complaint absent the direct filing Order entered by
     this Court:
                                      Central District of California



9.   Brand Product(s) used by Plaintiff (check applicable):

              A.     Taxotere

              B.     Docefrez

              C.     Docetaxel Injection

              D.     Docetaxel Injection Concentrate

              E.     Unknown




                                             3
        Case 2:17-cv-16231 Document 1 Filed 12/09/17 Page 4 of 6



             F.        Other:




10.   First date and last date of use (or approximate date range, if specific dates are unknown)
      for Products identified in question 9:

          November 20, 2012 and March 7, 2013



11.   State in which Product(s) identified in question 9 was/were administered:

          California




12.       Nature and extent of alleged injury (including duration, approximate
          date of onset (if known), and description of alleged injury):

            Severe and personal injuries that are permanent and lasting in
              nature including and economic and non-economic damages
            harms and losses, including, but not limited to: past and future
               medical expenses; psychological counseling and therapy
            expenses; past and future loss of earnings; past and future loss
           and impairment of earning capacity, permanent disfigurement,
              including permanent alopecia; mental anguish; severe and
            debilitating emotional distress; increased risk of future harm;
           past, present and future physical and mental pain, suffering and
           discomfort; and past, present and future loss and impairment of
                           the quality and enjoyment of life




13.       Counts in Master Complaint brought by Plaintiff(s):

                  Count I – Strict Products Liability - Failure to Warn
                  Count II – Strict Products Liability for Misrepresentation
                  Count III – Negligence
                  Count IV – Negligent Misrepresentation
                  Count V – Fraudulent Misrepresentation
                  Count VI – Fraudulent Concealment


                                            4
Case 2:17-cv-16231 Document 1 Filed 12/09/17 Page 5 of 6



      Count VII – Fraud and Deceit
      Count VIII – Breach of Express Warranty (Sanofi Defendants
      only)

      Other: Plaintiff(s) may assert the additional theories and/or
      State Causes of Action against Defendant(s) identified by
      selecting “Other” and setting forth such claims below. If
      Plaintiff(s) includes additional theories of recovery, for
      example, Redhibition under Louisiana law or state consumer
      protection claims, the specific facts and allegations supporting
      additional theories must be pleaded by Plaintiff in sufficient
      detail as required by the applicable Federal Rules of Civil
      Procedure.




                                 5
        Case 2:17-cv-16231 Document 1 Filed 12/09/17 Page 6 of 6



14.   Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s),
      Email Address(es) and Mailing Address(es) representing Plaintiff(s):

                                    By: Darin L. Schanker (#23881)
                                        J. Kyle Bachus (#24441)
                                        J. Christopher Elliott (#41063)
                                        Bachus & Schanker, LLC
                                        1899 Wynkoop Street, Suite 700
                                        Denver, CO 80202
                                        Telephone: (303) 893-9800
                                        FAX: (303) 893-9900
                                        E-mail:
                                        dschanker@coloradolaw.net
                                        E-mail:
                                        kyle.bachus@coloardolaw.net
                                        Email: celliott@coloradolaw.net




                                        6
